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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

Ranchers Cattlemen Action Legal Fund United
Stockgrowers of America; Weinreis Brothers Partnership;
                                                              Civil No. 19-cv-1222 (JRT/HB)
Minatare Feedlot Inc.; Charles Weinreis; Eric Nelson;
James Jensen d/b/a Lucky 7 Angus; and Richard Chambers
as Trustee of the Richard C. Chambers Living Trust on
behalf of themselves and all others similarly situated,
                                                                CASE MANAGEMENT
                      Plaintiffs,                                  ORDER NO. 1
v.
Tyson Foods, Inc.; Tyson Fresh Meats, Inc.; JBS S.A.;
JBS USA Food Company; Swift Beef Company;
JBS Packerland, Inc.; Cargill, Incorporated; Cargill Meat
Solutions Corporation; Marfrig Global Foods S.A.;
National Beef Packing Company, LLC; and
John Does 1-10;
                                    Defendants.

Michael Sevy, on behalf of himself and all others similarly
                                                              Civil No. 19-cv-1243 (JRT/HB)
situated,
                      Plaintiff,
v.
Tyson Foods, Inc.; Tyson Fresh Meats, Inc.; JBS S.A.;
JBS USA Food Company; Swift Beef Company;
JBS Packerland, Inc.; Cargill, Incorporated; Cargill Meat
Solutions Corporation; Marfrig Global Foods S.A.;
National Beef Packing Company, LLC; and
John Does 1-10;
                      Defendants.

Douglas Wright and Sam Mendenhall (d/b/a Mendenhall
Farms), individually and on behalf of others similarly
                                                              Civil No. 19-cv-1350 (JRT/HB)
situated,
                                      Plaintiff,
v.
Tyson Foods, Inc.; Tyson Fresh Meats, Inc.; JBS S.A.;
JBS USA Food Company; Swift Beef Company;
JBS Packerland, Inc.; Cargill, Incorporated; Cargill Meat
Solutions Corporation; Marfrig Global Foods S.A.;
National Beef Packing Company, LLC; and
John Does 1-10
                                    Defendants.
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       Pursuant to the proposed terms for case management contained in the in the Joint

Status Report dated June 28, 2019 (ECF No. 87), submitted by counsel for plaintiffs

(“Plaintiffs”) and defendants (“Defendants”) (and collectively, the “Parties”) in the above-

captioned proposed class actions (collectively, the “Cattle Actions”),

       IT IS HEREBY ORDERED that:

A.     Consolidation of the Cattle Actions

       1.     Pursuant to Rule 42(a) of the Federal Rules of Civil Procedure, Ranchers

Cattlemen Action Legal Fund United Stockgrowers of America, et al. v. Tyson Foods, Inc., et

al., No. 19-cv-1222 (JRT/HB) (D. Minn.), Sevy v. Tyson Foods, Inc., et al., No. 19-cv-1243

(JRT/HB) (D. Minn.), and Wright, et al v. Tyson Foods, Inc., et al., No. 19-cv-1350 (JRT/HB)

(D. Minn.) (“the Cattle Actions”) shall be CONSOLIDATED.

       2.     Ranchers Cattlemen Action Legal Fund United Stockgrowers of America v.

Tyson Foods, Inc., No. 19-cv-1222 (JRT/HB) (D. Minn.) shall be designated the “Lead Case

File.” A docket sheet shall be maintained for that file which shall include all filings

subsequently consolidated with the Lead Case File.

       3.     Any additional proposed class actions that may be filed in this judicial district

and that arise out of conduct similar to that alleged in the Cattle Actions on behalf of any

persons who (a) directly sold to a Defendant one or more fed cattle for slaughter or

(b) transacted in live cattle futures and/or options traded on the Chicago Mercantile

Exchange or another U.S. Exchange (“Subsequent Related Actions”) shall be consolidated

with the Cattle Actions pursuant to Paragraph 4, below.




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         4.   Counsel must call to the attention of the Clerk of Court the filing or transfer of

any case that might properly be consolidated with these actions.

         5.   Any Subsequent Related Actions later instituted in, removed to, or transferred

to this Court (including cases transferred for pretrial purposes under 28 U.S.C. §1407) shall

be consolidated with the Cattle Actions in the Lead Case File. When a Subsequent Related

Action is filed in this Court, the Clerk shall make an appropriate entry on the docket sheet of

the Lead Case File and mail a copy of this Order to the attorneys for the plaintiffs and any

new defendants.

         6.   The terms of this Order shall apply automatically to Subsequent Related

Actions falling within Paragraph 3, above, unless a party to the Subsequent Related Action

objects within 14 days after receipt of a copy of this Order as provided in Paragraph 4,

above.

         7.   Every pleading shall be filed in the Lead Case File and bear the following

caption:


 IN RE CATTLE ANTITRUST LITIGATION                         Civil No. 19-cv-1222 (JRT/HB)


 This document relates to:                                         [Document Title]
 ALL CASES [or case name and number if relates to
 a specific case



         8.   The Clerk shall close dockets for Sevy v. Tyson Foods, Inc., et al., No. 19-cv-

1243 (JRT/HB), and Wright, et al v. Tyson Foods, Inc., et al., (No. 19-cv-1350 (JRT/HB).




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A notation shall be made on these dockets that upon entry of this Order, all papers shall be

filed in the Lead Case File and no further papers shall be filed in the individual case dockets.

       9.     Any lawyer who has been admitted pro hac vice in any of the above actions

need not seek pro hac vice admission in any other action; a single pro hac vice admission in

these proceedings is sufficient. Any lawyer who has filed a notice of appearance in any of

the above actions need not notice an appearance in any other action; a single notice of

appearance in these proceedings is sufficient. It is incumbent upon the lawyer to ensure his

or her appearance is listed in the relevant consolidated proceedings for ECF purposes.

       10.    This Order shall not have the effect of making any person, firm, or

corporation a party to any action in which they have not been added as such in accordance

with the Federal Rules of Civil Procedure.

B.     Appointment of Leadership of Plaintiffs’ Counsel in the Cattle Actions

       1.     Defendants take no position – and this Order does not impute to them any

position – on the appointment of or responsibilities assigned to Lead and Liaison Counsel

for the Cattle Actions.

       2.     In the interest of efficient management of the Cattle Actions, leadership of

Plaintiffs’ counsel in the Cattle Actions shall be organized as follows: There shall be two

Interim Co-Lead Counsel; one Interim Liaison Counsel; and a four-firm Plaintiffs’

Executive Committee.

       3.     Interim Co-Lead Counsel: The Court appoints Scott+Scott Attorneys at Law

LLP (“Scott+Scott”) and Cafferty Clobes Meriwether & Sprengel LLP (“Cafferty Clobes”)

as Interim Co-Lead Counsel in the Cattle Actions.



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       4.       Interim Liaison Counsel: The Court appoints Robins Kaplan LLP as Interim

Liaison Counsel in the Cattle Actions.

       5.       Plaintiffs’ Executive Committee: The Court appoints the following firms to

Plaintiffs’ Executive Committee in the Cattle Actions: (i) Gibbs Law Group LLP; (ii) Kirby

McInerney LLP; (iii) Paul LLP; and (iv) Pearson, Simon & Warshaw, LLP.

  C.        Responsibilities of Leadership of Plaintiffs’ Counsel in the Cattle Actions

       1.       Interim Co-Lead Counsel shall be responsible, either personally or by

designee, for the overall conduct of the litigation on behalf of all Plaintiffs in the Cattle

Actions, including providing supervision of all Plaintiffs’ counsel in such actions. As

Interim Co-Lead Counsel, Scott+Scott and Cafferty Clobes shall have the authority to:

                a.     Promote the efficient conduct of this litigation and avoid unnecessary

                       duplication and unproductive efforts by making and supervising all

                       work assignments;

                b.     Prepare and file a Consolidated Amended Complaint and any

                       subsequent pleadings on behalf of the Plaintiffs in the Cattle Actions;

                c.     Conduct all pretrial, trial, and post-trial proceedings on behalf of all

                       Plaintiffs in the Cattle Actions and act as spokesperson for all such

                       Plaintiffs;

                d.     Conduct or coordinate discovery on behalf of all Plaintiffs in the Cattle

                       Actions consistent with the Federal Rules of Civil Procedure, including

                       preparation (or responses to) written discovery requests and

                       examination (or defense) of witnesses in depositions;



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     e.    Monitor activities of all counsel in the Cattle Actions and implement

           procedures to ensure that schedules are met and unnecessary

           expenditures of time and funds are avoided by collecting from each

           firm regular time and expense reports in the form set forth by Interim

           Co-Lead Counsel;

     f.    Make and collect assessments from some or all counsel in the Cattle

           Actions for the purpose of paying the costs necessary to litigate the

           case;

     g.    Negotiate with defense counsel with respect to settlement and other

           matters;

     h.    Prepare any application for an award (or approval) of fees and

           reimbursement of expenses incurred by Plaintiffs in the Cattle Actions;

     i.    Consult with and retain expert witnesses for the Plaintiffs in the Cattle

           Actions;

     j.    Negotiate with, retain, and manage relations with outside vendor(s) for

           the collection, processing, or review of documents and electronically

           stored information produced in discovery;

     k.    Conduct or coordinate all negotiations with defense counsel regarding

           search and production protocols, manage the review of documents

           produced by Defendants and third parties (and production of

           documents by Plaintiffs in the Cattle Actions), and implement




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                     advanced analytics for the efficient review of documents as

                     appropriate;

              l.     Coordinate and communicate as necessary with counsel for other

                     parties in the actions regarding any matters addressed in this Order in

                     order to ensure efficient use of Plaintiffs’, Defendants’, and the Court’s

                     time;

              m.     Ensure that all Cattle Plaintiffs’ counsel and Plaintiffs are kept

                     informed of the progress of this litigation as necessary; and

              n.     Otherwise coordinate the work of the Plaintiffs’ Executive Committee

                     and other counsel for Plaintiffs in the Cattle Actions, and perform such

                     other duties as Interim Co- Lead Counsel deem necessary and

                     appropriate based upon their judgment and consideration or as

                     authorized by further Order of the Court.

       2.     Responsibilities of Interim Liaison Counsel include:

              a.     Serving as liaison for communications with the Court and the

                     Defendants (or Defendants’ liaison counsel).

              b.     Participating in discussions with Co-Lead Counsel in the Cattle

                     Actions regarding the conduct of the litigation as described in the

                     preceding paragraph.

       3.     Responsibilities of the Plaintiffs’ Executive Committee include:

communicating regularly with Interim Co-Lead and Liaison Counsel and efficiently

completing all pretrial litigation and trial work assigned by Interim Co-Lead Counsel.



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        4.      No motion shall be initiated or filed on behalf of any Plaintiff in the Cattle

Actions except through the Interim Co-Lead and Liaison Counsel.

        5.      Interim Cattle Co-Lead and Liaison Counsel shall have sole authority to

communicate with Defendants’ counsel and the Court on behalf of any Plaintiff in the Cattle

Actions, unless that authority is expressly delegated to a member of the Plaintiffs’ Executive

Committee or other counsel. Defendants’ counsel may rely on all agreements made with

Interim Co-Lead and Liaison Counsel for Plaintiffs, and such agreements shall be binding on

all other Plaintiffs.

        6.      Interim Cattle Co-Lead and Liaison Counsel are designated as counsel for all

Plaintiffs in the Cattle Actions upon whom all discovery, motions or other pleadings, notices,

and correspondence shall be served, and Defendants shall serve papers on all Plaintiffs in the

Cattle Actions by serving the Interim Co-Lead and Liaison Counsel by electronic means in

compliance with the Rules and Orders of this Court. Interim Co-Lead and Liaison Counsel

shall jointly be responsible for maintaining a master service list of all parties and their

respective counsel.

        7.      No communication among Plaintiffs’ counsel in the Cattle Actions and

counsel for Plaintiffs in Peterson et al. v. Agristats, Inc. et al., Civil No. 19-cv-1129

(JRT/HB) (D. Minn.) or among Defendants’ counsel in the Cattle Actions and counsel for

Defendants in Peterson et al. v. Agristats, Inc. et al., Case No. Civil No. 19-cv-1129

(JRT/HB) (D. Minn.) shall be asserted or taken as a waiver of any privilege or protection to

which they would otherwise be entitled.




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D.     Consolidated Amended Complaint

       1.     Plaintiffs will file, by July 15, 2019, a Consolidated Amended Complaint, and

per the agreement of the Parties, Plaintiffs may thereafter amend their complaint once as a

matter of course, consistent with time limitations for doing so as set forth in Federal Rule of

Civil Procedure 15(a).

       2.     Nothing in this order shall constitute a waiver of (a) any jurisdictional

defenses that may be available; (b) any affirmative defenses under Rule 8 of the Federal

Rules of Civil Procedure, any defense listed in Rule 12(b) of the Federal Rules of Civil

Procedure, or otherwise (including but not limited to any defense based on ineffective

service), or (c) any other statutory or common law defenses that may be available to

Defendants. Defendants have expressly reserve their rights to raise these and any other

defenses available to them.


SO ORDERED.



Dated: July 10, 2019                         s/ Hildy Bowbeer
                                            HILDY BOWBEER
                                            United States Magistrate Judge




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